

People v Jennings (2021 NY Slip Op 03264)





People v Jennings


2021 NY Slip Op 03264


Decided on May 20, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 20, 2021

Before: Renwick, J.P., Manzanet-Daniels, Mazzarelli, Mendez, JJ. 


Ind No. 1329/18 Appeal No. 13890 Case No. 2019-1904 

[*1]The People of the State of New York, Respondent,
vKeith Jennings, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Barbara Zolot of counsel), for appellant.
Cyrus R. Vance, Jr., District Attorney, New York (Franklin R. Guenthner of counsel), for respondent.



Judgment, Supreme Court, New York County (Ann E. Scherzer, J.), rendered January 11th, 2019, convicting defendant, upon his plea of guilty, of two counts of robbery in the first degree, and sentencing him to concurrent terms of five years with three years' postrelease supervision, unanimously modified, as a matter of discretion in the interest of justice, to the extent of reducing the periods of postrelease supervision to 2½ years, and vacating the surcharge and fees imposed at sentencing, and otherwise affirmed.
The court and counsel appear to have been under the mistaken impression that the statutory minimum period of postrelease supervision was three years when in fact, it was 2½ years. Accordingly, we reduce that component of the sentence on each conviction to conform to what the court appears to have intended (see People v Rodriguez, 276 AD2d 368, 369 [1st Dept 2000]).
Based on the People's consent as a matter of prosecutorial discretion, and pursuant to our own interest of justice powers, we waive the surcharge and fees imposed at sentencing (see People v Chirinos 190 AD3d 434 [1st Dept 2021]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 20, 2021








